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                    UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF OHIO, WESTERN DIVISION
 STEPHANIE LEIGH WHITAKER,                   )      CIVIL COMPLAINT
 et al.                                      )
                                             )      Case No. 1:18-cv-00540-WOB
        Plaintiffs,                          )
                                             )
 v.                                          )
                                             )
 JUDGE JOSEPH W. KIRBY,                      )      JUDGE WILLIAM O. BERTELSMAN
                                             )
       Defendant.                            )

 MEMORANDUM IN OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
       Defendant’s motion to dismiss should be denied. The Rooker-Feldman doctrine

does not apply to this case because Plaintiffs challenge Judge Kirby’s practices and

procedures, not his final judgments. Catz v. Chalker, 142 F.3d 279, 294 (6th Cir. 1998)

(Rooker-Feldman not bar claims challenging the “procedures used” by state court judges

(emphasis in original)). Similarly, the Supreme Court limited application of Younger

abstention almost exclusively to criminal and quasi-criminal proceedings in Sprint

Communs., Inc. v. Jacobs, 571 U.S. 69 (2013), and Defendant’s reliance on pre-Sprint case

law is misplaced.

       Defendant does not (and cannot) dispute that Plaintiffs Whitaker and Shaul have

Article III standing—and Defendant has overlooked the Sixth Circuit’s admonition in

Sch. Dist. v. Sec’y of the United States Dep’t of Educ., that where one Plaintiff has standing,

“there is no need to consider” whether any others do. 584 F.3d 253, 261 (6th Cir. 2009).

In any event, Plaintiff Jane Doe does have standing, as she has alleged that she intends

to file a name change application for her child, and her child therefore will be subject to


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the discriminatory practices at issue. Additionally, Congress has abrogated judicial

immunity for state court judges in actions for declaratory relief (rather than monetary

damages), so the Court should not dismiss on that ground, either.

         Lastly, Defendant—in what amounts to a motion to dismiss for failure to state a

claim—contends that he does not discriminate against transgender people because he

has granted name changes to transgender adults and select transgender minors in the

past, before adopting the new, discriminatory procedures alleged in Plaintiffs’

complaint. But in order to state a claim for unlawful discrimination, a plaintiff need

not allege or prove that the defendant discriminated against all members of a protected

class. See Grizzell v. City of Columbus Div. of Police, 461 F.3d 711, 720 (6th Cir. 2006). Just

as it would violate equal protection for Defendant’s procedures to treat girls under 18

less favorably than boys under 18 based on their sex—regardless of whether Defendant

also discriminated against adult women or had treated a single girl equally in the

past—so too it violates equal protection to treat transgender minors less favorably than

other minors based on their transgender status. Further, both the Sixth Circuit and this

Court have held that discrimination against transgender people is subject to heightened

scrutiny, and Defendant has not even attempted to show that the challenged procedures

satisfy that demanding standard. For these reasons, Defendant’s motion to dismiss

should be denied.

I.       ARGUMENT.

         A.    Rooker-Feldman Does Not Bar Plaintiffs’ Claims.



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       Defendant complains that the present suit is an “end-run” around the state court

system, and thus Rooker-Feldman should apply. Doc. 15, PAGEID #: 103. This misses

the mark and “does not make Rooker-Feldman more or less applicable.”. Coles v.

Granville, 448 F.3d 853,859 (6th Cir. 2006). Under settled law, the dispositive issue is

whether the Complaint falls within the narrow confines of the Rooker-Feldman doctrine.

As shown below, it does not.

       The Rooker-Feldman doctrine is based on Congress vesting the United States

Supreme Court with jurisdiction to review a final judgment of a state’s highest courts,

which by implication divests the lower federal courts of that jurisdiction. Exxon Mobil

Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 283–84 (2005). In the wake of Exxon, the

Sixth Circuit “has tightened the scope of Rooker-Feldman.” Kovacic v. Cuyahoga Cty. Dep’t

of Children & Family Servs., 606 F.3d 301, 309 (6th Cir. 2010); Coles, 448 F.3d at 857 (6th

Cir. 2006). “In post-Exxon analysis,” the Sixth Circuit has “distinguished between

plaintiffs who bring an impermissible attack on a state court judgment—situations in

which Rooker-Feldman applies—and plaintiffs who assert independent claims before the

district court—situations in which Rooker-Feldman does not apply.” Id. at 309.

       Defendant’s reliance on three pre-Exxon unpublished Sixth Circuit decisions is

misplaced. Doc. 15, PageID #: 105. The Sixth Circuit has subsequently repudiated its

prior standard that turned on whether a federal suit is “inextricably intertwined” with

or somehow “tied” to the state court proceeding, or whether success on the federal

claims would imply the invalidity of the state-court ruling. Berry v. Schmitt, 688 F.3d

290, 302 (6th Cir. 2012) (“In the wake of Exxon, this court has explicitly backed away

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from that standard.”). Under current law, as explained in Exxon, “[i]f a federal plaintiff

present[s] some independent claim, albeit one that denies a legal conclusion that a state court

has reached in a case to which he was a party . . ., then there is jurisdiction and state law

determines whether the defendant prevails under principles of preclusion.” Fieger v.

Ferry, 471 F.3d 637, 642 (6th Cir. 2006) (citing Exxon, 544 U.S. at 293) (emphasis added).

This case presents such an independent claim.

               1.     This Action Challenges the Procedures Used by the Probate Court Judge,
                      Not the Substance of the State Court Judgment.
       The Sixth Circuit has long recognized that while Rooker-Feldman prohibits federal

review of state court judgments, it does not bar claims challenging the “procedures used”

by state court judges. Catz v. Chalker, 142 F.3d 279, 294 (6th Cir. 1998) (emphasis in

original); see also Alexander v. Rosen, 804 F.3d 1203, 1206–07 (6th Cir. 2015) (Rooker-

Feldman did not apply because plaintiff’s injury did not “emerge from the state court

judgment” but rather “the conduct of the individuals who happened to participate in

that decision”) (emphasis in original); Marks v. Tennessee, 554 F.3d 619, 623 (6th Cir.

2009) (plaintiff’s claim that state court’s refusal to indefinitely stay proceedings violated

the Americans with Disabilities Act was not barred by Rooker-Feldman).

       In Catz, the Sixth Circuit reversed a trial court holding that the plaintiff’s claims

were barred by Rooker-Feldman because they appeared to challenge the validity of the

Arizona state court proceedings. Catz, 142 F.3d at 294 (6th Cir. 1998). The Sixth Circuit

explained that the plaintiff “attack[ed] as unconstitutional ‘the manner in which the

Arizona state court proceeding was conducted,’” not the Arizona state court’s decision



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on the merits. Id. (internal quotation marks omitted). The Sixth Circuit also recognized

that the relief sought “would not consist of a conflicting judgment on the merits.” Id.

      Just as in Catz, the Complaint in this case attacks the procedures used in Judge

Kirby’s courtroom, which single out transgender minors and subject them to disparate

treatment:

      •   “Judge Kirby has instructed that all name change applications from
          transgender persons be assigned to his docket for a hearing,” rather
          than being heard by a magistrate judge (as is the case for all other
          applicants). Doc. 1, PAGEID #: 17, ¶ 35(a).

      •   Judge Kirby engages in intrusive, embarrassing, atypical, and
          irrelevant questioning of transgender minors and their parents during
          name change hearings. Doc. 1, PAGEID #: 12–13, ¶¶ 26(e) & 26(f), and
          PAGEID #: 18, ¶ 36.

      •   Judge Kirby requests evidence from medical professionals in cases
          involving transgender minors when he does not require such evidence
          from non-transgender minors. Doc. 1, PAGEID #: 18, ¶ 36(a).

      •   Judge Kirby copies and pastes his decisions regarding transgender
          minors, rather than engaging in individualized determinations. Doc.
          1, PAGEID #: 15, ¶ 33; PAGEID #: 18, ¶ 36(b); PAGEID #: 51, 54–55, 59
          (three decisions from Judge Kirby using identical language and
          format).

      •   Transgender minors, upon having their applications for name changes
          denied, are prohibited from bringing further applications until they are
          adults (unlike other applicants). Doc. 1, PAGEID #: 13, ¶ 27; PAGEID
          #: 51, 54–55, 59.
      Whitaker alleges that, because of her child’s transgender identity, her child’s case

was heard by Defendant rather than (as would normally be the case) by a magistrate,

her child was subjected to a barrage of intrusive and embarrassing questions, she was

denied the opportunity to be heard by an impartial decisionmaker who would listen to


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the evidence and render an individualized determination, and she was barred from

bringing further name change applications for her child, just as the plaintiff in Catz was

prohibited from filing further suits. Thus, under Catz, Alexander, and Marks, Whitaker’s

challenges to the practices and procedures used by Judge Kirby are not subject to

Rooker-Feldman.

       B.      The Younger Abstention Doctrine Does Not Bar Plaintiffs’ Claims.

       This case does not fall within the narrow category of state law proceedings to

which the Younger abstention doctrine applies. New Orleans Pub. Serv., Inc. v. Council of

New Orleans (NOPSI), 491 U.S. 350 (1989). The Supreme Court has cautioned that “only

exceptional circumstances justify a federal court’s refusal to decide a case in deference

to the States.” NOPSI, 491 U.S. at 368. In Sprint Communications, Inc. v. Jacobs, the Court

clarified that those “exceptional circumstances” exist in only “three types of

proceedings”:

       ongoing state criminal prosecutions; certain “civil enforcement
       proceedings”; and pending “civil proceedings involving certain orders . . .
       uniquely in furtherance of the state courts’ ability to perform their judicial
       functions.”
571 U.S. at 78 (ellipses in original).

       This case does not fall within any of these three “exceptional” categories;

accordingly, the Younger abstention doctrine does not apply.

       Defendant’s Younger abstention analysis disregards this binding precedent and

relies instead on the three factors in Middlesex County Ethics Committee v. Garden State

Bar Ass’n, namely whether, “(1) the state proceedings [were] currently pending; (2) the



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proceedings involve[d] an important state interest; and (3) the state proceedings

w[ould] provide the federal plaintiff with an adequate opportunity to raise his

constitutional claims.” 457 U.S. 423 (1982). As the Supreme Court noted in Sprint,

“[d]ivorced from their quasi-criminal context, the three Middlesex conditions would

extend Younger to virtually all parallel state and federal proceedings, at least where a

party could identify a plausibly important state interest.” 571 U.S. at 81. That result is

“irreconcilable with our dominant instruction that, even in the presence of parallel state

proceedings, abstention from the exercise of federal jurisdiction is the ‘exception, not

the rule.’” Id. at 82 (emphasis in original) (citing Hawaii Housing Authority v. Midkiff, 467

U.S. 229, 236 (1984)). For this reason, the Sixth Circuit has held that the “Middlesex

factors are only considered by a court after the court decides that one of the NOPSI

exceptional circumstances is present.” Doe v. Univ. of Ky., 860 F.3d 365, 369 (6th Cir.

2017) (citing Sprint, 134 S. Ct. at 593–94); see also FCA US, LLC v. Spitzer Autoworld Akron,

LLC, 887 F.3d 278, 290 (6th Cir. 2018). Because this case does not fall within any of these

“exceptional circumstances,” the Middlesex factors do not apply; moreover, even if they

did, they would not be satisfied here

              1.     A Civil Name-Change Proceeding Is Not Quasi-Criminal or Uniquely
              Important to State Courts’ Ability to Perform Their Judicial Functions.

       This case does not fall within any of the three “exceptional” categories that

trigger the Younger abstention doctrine. NOPSI, 491 U.S. at 368.

       First, a civil name change proceeding is not criminal in nature. Second, a civil

name change proceeding is not a civil enforcement proceeding, which must be quasi-


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criminal in nature to trigger Younger abstention. Sprint, 571 U.S. at 81; Doe, 860 F.3d at

369. Unlike proceedings akin to a criminal prosecution, civil name change proceedings

must be initiated by the person seeking the name change, or on his or her behalf, and

are not in any way intended to sanction the individual seeking a name change. See Doe,

860 F.3d at 369 (quoting Sprint, 571 U.S. at 79). They cannot, therefore, constitute quasi-

criminal civil enforcement actions precluded by Younger.

       Finally, name change actions do not constitute “proceedings involving certain

orders that are uniquely in furtherance of the state courts’ ability to perform their

judicial functions.” NOPSI, 491 U.S. at 368. The Supreme Court has held that these

“certain orders” include civil contempt orders and the requirement for posting bond

pending appeal. Id. The common thread between these examples is that both implicate

the ability of state courts to enforce their orders and judgments. The proceedings at

issue in this case do not share these attributes. Unlike a contempt order or the

requirement to post bond, scrutiny of the discriminatory procedures applied to

transgender minors petitioning for name changes, and the potential for forward-looking

relief to correct constitutional deficiencies in those procedures in future cases, does not

interfere with the ability of state courts to enforce their judgments in any way.

              2.     The Middlesex Factors are Not Satisfied.

       Even if civil name change proceedings did fall into one of the three NOPSI

categories (which they do not), Younger abstention would not be justified because the

three Middlesex factors also are not satisfied. For Plaintiff Doe, not even the first

requirement is satisfied, because there is no pending state court proceeding that could

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warrant abstention. As to the other two Plaintiffs, the second and third Middlesex

factors remain unsatisfied.

       This case also does not involve the type of “important state interest”

contemplated by Middlesex. For example the Sixth Circuit has found an important state

interest in “providing for the general safety, health and welfare of its citizens.” Sun

Refining & Marketing Co. v. Brennan, 921 F.2d 635, 641 (6th Cir. 1990). Here, the name

change procedure exists primarily to facilitate individual and parental autonomy; the

state’s only significant interest is protecting the public against fraud or name changes

sought for a similarly unreasonable or improper purpose. See RC 2017.01(B)-(C). Those

interests are not implicated here, where Plaintiffs are seeking equal treatment of name

change applications for their own minor children with full parental consent.

       Lastly, Plaintiffs have no adequate means of asserting their constitutional claims

within the Ohio state court proceedings. This action challenges Defendant’s practices

and procedures about name change applications for transgender minors—a claim that

necessarily implicates Defendant’s treatment of transgender applicants generally, not

only in a single case. By contrast, Plaintiff Whitaker’s appeal to the Twelfth District

Court of Appeals will be limited to the record in the trial court and will focus on legal

and factual errors committed by Judge Kirby with respect to her child’s particular case.

There will be no opportunity in that court for Plaintiff Whitaker to obtain and present

evidence of Defendant’s practice of discriminating against transgender minors across a

range of cases. Unlike the state court appeal, this suit does not attack the ultimate

conclusions Judge Kirby reached (i.e. substance), but rather the constitutionality of the

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procedures he utilizes. Plaintiffs will have the opportunity to prove those general

practices only in this suit. Therefore, even if the Middlesex factors were to apply to this

case (which they do not), those factors would weigh against Younger abstention.

       C.     Article III’s “Case or Controversy” Requirement is Satisfied.

       The jurisdiction of the federal courts is limited by Article III § 2 of the United

States Constitution to complaints alleging a live “case or controversy.” To meet that test

and establish standing, a plaintiff must allege an injury in fact, which the Supreme

Court has defined as “an invasion of a legally protected interest which is (a) concrete

and particularized, and (b) actual or imminent, not conjectural or hypothetical,” Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992) (internal citations and quotations omitted).

A plaintiff must further allege a causal connection between the injury and the

defendant’s conduct and that a favorable decision will redress the injury. Id. at 560–61.

Defendant concedes that Plaintiffs Whitaker and Shane have standing, but argues that

Plaintiff Jane Doe lacks standing. He is incorrect. Under well-established principles,

Plaintiff Doe has standing.

              1.     Plaintiff Jane Doe Has Standing Because She Has Concrete Plans to File a
                     Name-Change Application for Her Minor Child.
       Plaintiff Jane Doe has standing under the traditional three-element Lujan test.

First, Plaintiffs have alleged that Jane Doe “is planning to file a petition in Warren

County Probate-Juvenile Court for a name change” and that, when she does so, she and

her child will be subject to the unconstitutional practices and procedures challenged in

this action. Doc. 1, PAGEID #: 3, at ¶ 5(c). Plaintiff’s Doe’s allegation of a concrete



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plan to take action that will subject her to Defendant’s unlawful conduct is precisely

what is required to establish imminent injury sufficient to support standing. See, e.g.,

Platt v. Bd. of Comm'rs on Grievances & Discipline of Ohio Supreme Court, 769 F.3d 447, 452

(6th Cir. 2014); Green Party of Tennessee v. Hargett, 791 F.3d 684, 696 (6th Cir. 2015);

Planned Parenthood Sw. Ohio Region v. DeWine, 64 F. Supp. 3d 1060, 1065 (S.D. Ohio

2014).

         In addition, as stated in the Complaint, one of the purposes for seeking a name

change for John Doe is to allow him to apply to colleges this fall using his correct name

instead of his birth name. Doc. 1, PAGEID #: 15, at ¶ 30(c). This demonstrates that John

Doe will experience a concrete and particularized harm if Defendant’s discriminatory

conduct is permitted to continue. Those allegations—which must be liberally construed

and accepted as true at this stage, see Lujan, 504 U.S. at 561—are more than sufficient to

allege an injury in fact.

         Second, Defendant does not seriously contest that Jane Doe’s injury is fairly

traceable to the disparate procedures employed by Defendant when hearing name-

change applications on behalf of transgender minors. By alleging a pattern or practice

of discrimination by Defendant threatening her with imminent injury, Plaintiff Doe has

adequately alleged that her injury is traceable to Defendant’s conduct.

         Third, Defendant concedes that Plaintiff Doe’s injury is redressable by an order of

this Court, although Defendant (incorrectly) assumes that Plaintiffs desire an order

specifically directing Judge Kirby to grant John Doe’s name change. In fact, Plaintiffs

seek nothing more than an order that will ensure Judge Kirby treats transgender name

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change applicants no differently than other similarly-situated applicants. Such an order

would prevent Plaintiff Jane Doe’s subjection to the unconstitutional procedures that

are the subject of this action.

              2.      The Court Need Not Reach the Issue of Plaintiff Jane Doe’s Standing.

       In any event, it is well established that the Court need not reach the question of

Plaintiff Jane Doe’s standing so long as at least one other Plaintiff shows standing. Sch.

Dist. v. Sec’y of the United States Dep’t of Educ., 584 F.3d 253, 261 (6th Cir. 2009) (“Since at

least one Plaintiff in this action has standing, there is no need to consider whether the

education association Plaintiffs also have standing.”) (citing Clinton v. City of N.Y., 524

U.S. 417, 431 (1998)); see also Bowsher v. Synar, 478 U.S. 714, 721 (1986) (similar).

       Defendant does not challenge that Plaintiffs Whitaker and Shaul have

demonstrated standing, and to do so would be futile. Plaintiff Whitaker has already

suffered a concrete, redressable injury traceable to Defendant’s conduct, namely her

child’s subjection to Defendant’s disparate treatment of transgender minors, and

Plaintiff Shaul’s injury is imminent in light of her child’s pending name-change

application. The suit could therefore proceed even if Plaintiff Doe lacked standing to

sue independently—which she does not.

       D.     Congress Has Abrogated Judicial Immunity for § 1983 Declaratory Relief.


       “The Sixth Circuit has explicitly recognized the availability of declaratory relief

against judicial officers for claims under Section 1983.” Rodriguez v. Providence Cmty.

Corr., Inc., 191 F. Supp. 3d 758, 765 (M.D. Tenn. 2016) (citing Ward v. City of Norwalk, No.



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15-3018, 640 Fed. Appx. 462 (6th Cir. Feb. 3, 2016)). In Ward, the Sixth Circuit explained

that, after § 1983 was amended in 1996 by the Federal Courts Improvement Act, the

“the plain language of § 1983 contemplates a declaratory judgment against judicial

officers . . . in their official capacities.” Ward, 640 F. App’x at 467. Defendant’s citations

to pre-1996 case law (along with a handful of cases relating to suits for monetary

damages) are thus unavailing.

       Defendant’s citation to Cooper v. Rapp confuses the doctrine of judicial immunity

with Article III standing. 702 F. App’x 328, 333 (6th Cir. 2017). In Cooper, the Sixth

Circuit explained that although declaratory relief is available as a remedy against state

court judges, “abstention doctrines and Article III of the United States Constitution still

serve to limit the availability of such relief.” Id. at 333. As demonstrated above, neither

abstention doctrines nor Article III standing preclude declaratory relief in this case.

       E.     Plaintiffs Have Stated Valid Equal Protection Claims Based on
              Discrimination Against Transgender People.
       Defendant’s final argument is in effect a motion to dismiss for failure to state a

claim under Rule 12(b)(6), relying on the allegations in the Complaint and on public

records. Currier v. First Resolution Inv. Corp., 762 F.3d 529, 533 (6th Cir. 2014). “To

survive a motion to dismiss, the plaintiff need only plead sufficient factual matter,

which we must accept as true, to ‘state a claim to relief that is plausible on its face’

meaning that we can draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). The Court

“must construe the complaint in the light most favorable to the plaintiff and accept all



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allegations as true.” Doe v. Miami Univ., 882 F.3d 579, 588 (6th Cir. 2018). Defendant’s

motion should be denied because Plaintiffs allege valid equal protection claims.

              1.      Transgender People are a Protected Class.

       To state a claim for discrimination under the Equal Protection Clause, the

Plaintiffs need only allege sufficient facts to show that Judge Kirby’s “policies

intentionally discriminated against [them] because of [their] membership in a protected

class.” Starr v. Bova, No. 1:15 CV 126, 2015 U.S. Dist. LEXIS 88683, at *4 (N.D. Ohio July

8, 2015) (citing Henry v. Metropolitan Sewer Dist., 922 F.2d 332, 341 (6th Cir. 1990)).

Transgender people “constitute an ‘identifiable group’ for equal protection purposes.”

Starr, 2015 U.S. Dist. LEXIS 88683, at *4 (citing Davis v. Prison Health Services, 679 F.3d

433, 441 (6th Cir. 2012)).

       Plaintiffs allege that they are members of a protected group, and that policies

discriminating against them are subject to heightened scrutiny. Discrimination against

transgender people warrants heightened scrutiny for two reasons. First, as the Sixth

Circuit has held, discrimination against a transgender person is discrimination based on

sex. Equal Employment Opportunity Comm. v. R.G. & G.R. Harris Funeral Homes, Inc., 884

F.3d 560, 574-581 (6th Cir. 2018) (holding that discrimination against transgender

employees constitutes sex discrimination and that transgender people are a protected

class under Title VII); see also Smith v. City of Salem, 378 F.3d 566 (6th Cir. 2004) (holding

that government discrimination against a transgender person is sex discrimination for

purposes of equal protection review); Barnes v. City of Cincinnati, 401 F.3d 729 (6th Cir.

2005) (same). Under settled law, discrimination based on sex warrants heightened

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equal protection scrutiny. United States v. Virginia, 518 U.S. 515, 531 (1996); Communities

for Equity v. Mich. Athletic High School Ass’n, 459 F.3d 676, 692-93 (6th Cir. 2006).

       In addition, transgender people also independently meet the criteria for

heightened scrutiny under the Supreme Court’s traditional test, which considers: “(1)

whether the class has been historically ‘subjected to discrimination,’; (2) whether the

class has a defining characteristic that ‘frequently bears no relation to ability to perform

or contribute to society,’; (3) whether the class exhibits ‘obvious, immutable, or

distinguishing characteristics that define them as a discrete group,’; and (4) whether the

class is ‘a minority or politically powerless.’” Bd. of Educ. v. U.S. Dep’t of Educ., 208 F.

Supp. 3d 850, 873 (S.D. Ohio 2016) (citations omitted).

       This Court and others have held that transgender people, under this four-factor

test, are a suspect class requiring “heightened scrutiny”:

       First, there is not much doubt that transgender people have historically
       been subject to discrimination including in education, employment,
       housing, and access to healthcare. Adkins, 143 F. Supp. 3d at 139. Second,
       there is obviously no relationship between transgender status and the
       ability to contribute to society. Third, transgender people have
       “immutable [and] distinguishing characteristics that define them as a
       discrete group,” Lyng, 477 U.S. at 638, or as the Second Circuit put it in
       Windsor, “the characteristic of the class calls down discrimination when it
       is manifest,” 699 F.3d at 183; see also Adkins, 143 F. Supp. 3d at 139–40
       (noting that transgender people encounter obstacles when there is a
       mismatch between the sex indicated on a birth certificate and the person’s
       gender identity, and that “transgender people often face backlash in
       everyday life when their status is discovered”). Finally, as a tiny minority
       of the population, whose members are stigmatized for their gender non-
       conformity in a variety of settings, transgender people are a politically
       powerless minority group. The efforts of states to pass legislation
       requiring individuals to use sex-segregated bathrooms that correspond
       with their birth sex are but one example of the relative political
       powerlessness of this group. See Carcaño, 2016 U.S. Dist. LEXIS 114605,

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       2016 WL 4508192, at *6–7 (describing the enactment of North Carolina’s
       “bathroom bill”); see also Adkins, 143 F. Supp. 3d at 140 (noting that there
       are no openly transgender members of the United States Congress or the
       federal judiciary). Therefore, even if Smith did not require that this Court
       apply heightened scrutiny to Jane’s equal-protection claim, the Court
       finds that heightened scrutiny is appropriate under the four-factor test to
       determine suspect and quasi-suspect classifications.

Id. at 874; see also Evancho v. Pine-Richland Sch. Dist., 237 F. Supp. 3d 267, 288 (W.D. Pa.

2017) (holding that discrimination because of a person’s transgender status warrants

heightened scrutiny); Bd. of Educ. of the Highland Local Sch. Dist. v. U.S. Dep’t of Educ., 208

F. Supp. 3d 850, 873-74 (S.D. Ohio 2016) (same); Adkins v. City of N.Y., 143 F. Supp. 3d

134, 139-40 (S.D.N.Y. 2015) (same); Norsworthy v. Beard, 87 F. Supp. 3d 1104, 1119 (N.D.

Cal. 2015) (same); Stone v. Trump, 280 F. Supp. 3d 747 (D. Md. 2017) (same); Doe 1 v.

Trump, 275 F. Supp. 3d 167 (D.D.C. 2017) (same); Karnoski v. Trump, 2017 WL 6311305

(W.D. Wash. Dec. 11, 2017) (same); Stockman v. Trump, No. EDCV 17-1799 JGB (KKx)

(C.D. Cal. Dec. 22, 2017) (same).

       Under heightened scrutiny, a government policy must be “substantially related

to a sufficiently important governmental interest” to survive constitutional review. City

of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 441, 105 (1985). “The burden of

justification is demanding and it rests entirely on the State.” Virginia, 518 U.S. at 513.

Defendant has not argued that his differential treatment of transgender minors is

substantially related to an important government interest. Thus, the only point left to

consider is whether Plaintiffs have pled facts sufficient to plausibly allege that Judge

Kirby discriminates against transgender people. They have more than adequately done

so.

                                            [ 16 ]
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              2.     Plaintiffs Have Adequately Alleged That Judge Kirby’s Practices And
                     Procedures Discriminate Against Transgender Minors.
       Defendant concedes that “[t]o prevail on their Equal Protection claim, Plaintiffs

would have to show that Judge Kirby treats transgender applicants differently than

similarly situated non-transgender applicants.” Doc. 15, PAGEID #: 113.

       Plaintiffs have alleged in detail that Judge Kirby discriminates against

transgender applicants by utilizing an unconstitutional process and procedure that

treats the name change applications of transgender minors differently and less

favorably than those of other minors. Specifically, Plaintiffs have alleged that Judge

Kirby: assigns all transgender minor name change cases to himself rather than to

magistrate judges; subjects transgender minors to embarrassing, unusual, and intrusive

questioning of a personal nature; asks for medical evidence to be presented; and issues

“copy and paste” decisions denying their petitions.

       By contrast, other minors—that is, “similarly situated” non-transgender

applicants—generally have their petitions heard by magistrate judges, are not subject to

intrusive, unusual, and embarrassing questions, are not asked to present medical

evidence, and obtain a judgment based on an individualized determination of their

request. Construing the Complaint in the light most favorable to Plaintiffs, the

allegations are sufficient to allow for a reasonable inference that Judge Kirby

discriminates against minors because of their transgender status.

       Defendant’s contention that his court has granted name change applications by

transgender adults and minors in the past does not excuse his current pattern and



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practice of unequal treatment of the Plaintiffs and other transgender minors. Doc. 15,

PAGEID #: 100. It is well established that an individual “does not have to discriminate

against all members of a class to illegally discriminate against a given member of that

class.” Grizzell v. City of Columbus Div. of Police, 461 F.3d 711, 720 (6th Cir. 2006) (quoting

Goosby v. Johnson & Johnson Med., Inc., 228 F.3d 313, 323 (3d Cir. 2000)) (holding that

white police officers could maintain race discrimination claim if they could prove that

promotion decisions were made based on race, even if the majority of individuals

promoted were white). A policy or practice that discriminates against some people

because they are transgender is no less unlawful than a policy or practice that

discriminates against all transgender people. Moreover, an instance of treating a

member of a particular group equally in the past does not affect the validity of an equal

protection claim alleging a current pattern and practice of unequal treatment of the

group.

         Plaintiffs have alleged that the Defendant provides non-transgender minors with

a normal judicial process and routinely grants their applications or, if a petition is

denied, permits them to reapply while they are minors, but subjects transgender minors

to a barrage of unusual procedural barriers, issues cut and paste opinions denying their

petitions, and bars them from reapplying until adulthood. Therefore, Plaintiffs have

sufficiently pled that Defendant’s practices violate equal protection by discriminating

against transgender minors based on their sex and transgender status, and Defendant’s

motion to dismiss for failure to state a claim should be denied.



                                             [ 18 ]
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II.   CONCLUSION.

      For the above reasons, Plaintiffs respectfully request that this Court deny

Defendant’s motion to dismiss.

                                                   Respectfully Submitted,

Dated: September 10, 2018

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                             CERTIFICATE OF SERVICE

        I, Joshua Langdon, Esq., do hereby certify that on this 10th day of September,
2018, I caused true and correct copies of the foregoing to be filed via the Court’s
CM/ECF system, causing service on all counsel of record.

                                                   /s/ Joshua R Langdon




                                          [ 19 ]
